
OPINION.
Korner :
The taxpayer contended that the Commissioner erred in affiliating it with the Atlanta Theatre Co. for purposes of computation of income and profits tax for the reason that the Atlanta Thea-tre Co. was, during the taxable period under consideration, a personal service corporation and one not properly to be so affiliated. It was conceded by the taxpayer that if the Atlanta Theatre Co. was not a personal service corporation, the determination of the Commissioner in respect of the affiliation was correct.
We have held in the Appeal of Atlanta Theatre Co., 1 B. T. A. 890, that that corporation was not a personal service corporation. It follows that that corporation and this taxpayer should be affiliated.
